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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,                                Case No. 15-20723
                                                Hon. Matthew F. Leitman
v.

D3, RODNEY MORET-QUEZADA,

     Defendant.
__________________________________________________________________/

     ORDER GRANTING DEFENDANT RODNEY MORET-QUEZADA’S
         MOTION IN LIMINE TO SUPPRESS MAPS REPORTS

      On July 27, 2016, Defendant Rodney Moret-Quezada filed a Motion in

Limine to Suppress MAPS Reports (the “Motion”). (See ECF #102.) The Court held

hearings on the Motion on October 6, 2016 and December 8, 2016. For the reasons

stated on the record at the December 8, 2016 hearing, it is HEREBY ORDERED

that the Motion is GRANTED.


                                    s/Matthew F. Leitman
                                    MATTHEW F. LEITMAN
                                    UNITED STATES DISTRICT JUDGE

Dated: December 8, 2016




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I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on December 8, 2016, by electronic means and/or ordinary
mail.

                                     s/Holly A. Monda
                                     Case Manager
                                     (313) 234-5113




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